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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


 Case Title: Anthony Jakes                  Case Number: 19-cv-2204
 v. Kenneth Boudreau, Estate of Michael
 Kill, Louis Caesar, Thomas Pack, Michael
 DeLacy, Ken Burke, Fred Bonke, City of
 Chicago, and Unknown Employees of the
 City of Chicago
An appearance is hereby filed by the undersigned as attorney for:
Defendants Fred Bonke, Ken Burke, Kenneth Boudreau, and Louis Caesar

Attorney name (type or print): Eileen E. Rosen

Firm:     Rock Fusco & Connelly, LLC

Street address:         321 N. Clark Street, Suite 2200

City/State/Zip:     Chicago, IL 60654

 Bar ID Number: 6217428                               Telephone Number:          312-494-1000
 (See item 3 in instructions)

Email Address: erosen@rfclaw.com

Are you acting as lead counsel in this case?                                   Yes           No

Are you acting as local counsel in this case?                                  Yes           No

Are you a member of the court’s trial bar?                                     Yes           No

If this case reaches trial, will you act as the trial attorney?                Yes           No

If this is a criminal case, check your status.                   Retained Counsel
                                                                 Appointed Counsel
                                                                 If appointed counsel, are you a
                                                                     Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.


Executed on June 28, 2019

Attorney signature:        S/ Eileen E. Rosen
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                (Use electronic signature if the appearance form is filed electronically.)
                                                                                Revised 8/1/2015
